Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 1 of 29

UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

In re:
Kari Beeman, Case No. 22-01202
Chapter 7
Debtor,
Hon. James W. Boyd
/
KARI BEEMAN, Adv. Pro. No.
Plaintiff,

v.

CREDIT ACCEPTANCE CORPORATION, a Michigan Domestic Profit Corporation,
and

Roosen, Varchetti & Olivier, a Michigan Professional Limited Liability company

39541 Garfield Rd.,
Clinton Twp, MI 48038

Defendants.

Van Hoven & Associates, PLLC
Maureen B. Van Hoven P41326
Attorney for Defendant
501 Baldwin St., Ste 201
Jenison, MI 49428
616-777-0852
/

COMPLAINT TO AVOID AND RECOVER INVOLUNTARY

PREFERENTIAL TRANSFER TO CREDITOR CREDIT ACCEPTANCE
CORPORATION

AND TO RECOVER PROPERTY OF THE BANKRUPTCY ESTATE

Plaintiff, Kari Beeman, through her attorney, complains against Creditor Credit Acceptance
Corporation, a Michigan Domestic Profit Corporation, and Roosen, Varchetti & Olivier says:
Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 2 of 29

Jurisdiction

1. This Court has jurisdiction to hear this adversary proceeding under 28 U.S.C. § 1334 and
11 U.S.C. §§ 547 and 550.

2 This is a core proceeding under 28 U.S.C. § 157(b)(2)(F).

3. Plaintiff consents to entry of a final judgment by this Court.

Common Allegations

4, Plaintiff, Kari Beeman, is a debtor in Chapter 7 Case No. 22-01202, which was filed on
June 9, 2022.

>. Defendant, Credit Acceptance Corporation, is a Michigan Domestic Profit Corporation,
whose registered agent is CSC Lawyers Incorporating Service, 2900 WEST ROAD STE 500,
East Lansing, Michigan 48823. Exhibit 1.

6. Kenneth Booth is the CEO of Credit Acceptance Corporation. Exhibit 2.

7. Defendant, Roosen, Varchetti & Olivier, is a Michigan Domestic Professional
Corporation, whose registered agent is PAUL E VARCHETTI, and which has its primary place
of business at 39541 Garfield Rd., Clinton Twp, MI 48038. Exhibit 3.

8. Defendant Midland Funding LLC, through its attorneys Defendant Roosen, Varchetti &
Olivier obtained a money judgment against Plaintiff on August 16, 2018 in the 58" District
Court, Ottawa County, Case No. 18-053952-GC.

9. From March 11, 2022, through June 3, 2022, Defendant Credit Acceptance Corporation
via Defendant Roosen, Varchetti & Olivier garnished $2,292.73 from Plaintiff's wages.
Attached as Exhibit 4 are copies of Plaintiff's paystubs.

10. Through counsel, Plaintiff requested the Creditor, by and through Creditor’s Counsel, to

turn over the preferential funds by letters dated July 11, 2022 and August 8, 2022. Exhibit 5.
Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 3 of 29

11. Defendant Credit Acceptance Corporation failed to reply to either letter.
12. The funds in question were garnished and transmitted Defendant Roosen, Varchetti &
Olivier bi-weekly with the last one being withheld on June 3, 2022.

COUNT I
Avoidance of Involuntary Preferential Transfer

13. Plaintiff realleges and incorporates paragraphs 1-12 by reference.

14. The garnisheed wages in the amount of $2,292.73 set forth above constitute a transfer of
property of the Plaintiff to or for the benefit of the Creditor, by and through Creditor’s counsel,
who was a creditor of the Plaintiff.

15. The garnishments were made for or on account of an antecedent debt owed to Defendant
Credit Acceptance Corporation by and through Creditor’s counsel.

16. Plaintiff was presumptively and actually insolvent at the time of the garnishments.

17. The garnishments were made on or within the 90 days before the Petition date.

18. By virtue of the garnishments, the Creditor, by and through Creditors counsel, received
more than they would have received if the Plaintiff's estate had been liquidated under the
Chapter 7, the garnishments had not occurred, and the Creditor had received payment of the debt
to the extent permitted by the Bankruptcy Code.

19. The garnishments constitute avoidable preferences pursuant to 11 U.S.C. § 547(b).

20. The Plaintiff may avoid the garnished funds to the extent that he exempted the funds
because the garnishments are avoidable by the Trustee and the Trustee has not attempted to

avoid the garnishments, pursuant to 11 U.S.C. § 522(h).
WHEREFORE, Plaintiff respectfully requests that the Court avoid the $2,292.73

preferential transfers to Creditor Credit Acceptance Corporation, and grant such other relief as it

deems just and equitable under the circumstances.

Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 4 of 29

COUNT II
Recovery of Involuntary Preferential Transfer

21. Plaintiff realleges and incorporates paragraphs 1-20 by reference.
22. The Defendant Roosen, Varchetti & Olivier are an immediate transferee of the
withholdings for whose benefit the garnishments were made.
23. Defendant, Credit Acceptance Corporation, by and through its counsel was the initial
transferee or mediate transferee for whose benefit the garnishments were made.
24. Plaintiff is entitled to recover and exempt the involuntary preferential transfer under 11
U.S.C. §§ 522(g) and (h) because:

(a) the transfer is avoidable by the trustee under § 547 and the trustee has not

attempted to avoid the transfer;

(b) the transfer was not a voluntary transfer of the debtor’s property;

(c) the debtor did not conceal the property; and

(d) the debtor could have exempted the funds if the transfer had not been made.
25, Plaintiff has sufficient exemptions left to cover the preferential transfer, and has listed
and exempted the preferential transfer on Schedules B and C. (Relevant pages of Schedules B
and C are attached as Exhibit 5. Debtor scheduled the amount as $873.22 but the actual amount
is less, $2,292.73.)
26. Unless otherwise determined after a trial, the Plaintiff is entitled to recover from

Defendant, Credit Acceptance Corporation the sum of $2,292.73, plus interest thereon to the date

of payment and the costs of this action, pursuant to 11 U.S.C. § 550(a).
Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 5 of 29

27. Unless otherwise determined after a trial, the Plaintiff is entitled to recover from
Defendant, Roosen, Varchetti & Olivier the sum of $2,292.73, plus interest thereon to the date of

payment and the costs of this action, pursuant to 11 U.S.C. § 550(a)(2).

WHEREFORE, Plaintiff respectfully requests that the Court permit recovery of the
preferential transfer to Defendant, that he be awarded the recovered funds as exempt property,
that he be awarded reasonable attorney fees incurred in recovering the same, and that the Court

grant such other relief as it deems just and equitable under the circumstances.

Respectfully submitted,
o———

Dated: October 17, 2022 /§/ Maureen B. Van Hoven

Maureen B. Van Hoven (P-41326)

Attorney for Plaintiff

501 Baldwin St. Ste 201, Jenison, MI 49428

(616) 777-0852

(616) 457-9400 Fax

maureenvh@comcast.net

Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 6 of 29

Exhibit |
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Summary for: CREDIT ACCEPTANCE CORPORATION

The name of the DOMESTIC PROFIT CORPORATION: CREDIT ACCEPTANCE CORPORATION

The name was changed from: AUTO FINANCE CORPORATION on 01-26-1977 |

Entity type: DOMESTIC PROFIT CORPORATION

Identification Number: 800020000 Old ID Number: 020465

|Date of Incorporation in Michigan: 08/23/1972 |

| Purpose: All Purpose Clause |

Term: Perpetual |

| Most Recent Annual Report: 2022 Most Recent Annual Report with Officers & Directors: 2022

The name and address of the Resident Agent:

Resident Agent Name: CSC-LAWYERS INCORPORATING SERVICE (COMPANY)

Street Address: 2900 WEST ROAD STE 500

Apt/Suite/Other:

City: EAST LANSING State: MI Zip Code: 48823

Registered Office Mailing address:

P.O. Box or Street Address: 25505 W 12 MILE ROAD

Apt/Suite/Other:

City: SOUTHFIELD State: WA Zip Code: 48034

The Officers and Directors of the Corporation:

PRESIDENT KENNETH S. BOOTH 25505 WEST 12 MILE ROAD SOUTHFIELD, MI 48034 USA
TREASURER DOUGLAS W. BUSK - 25505 WEST 12 MILE ROAD SOUTHFIELD, MI 48034 USA
TREASURER DOUGLAS W. BUSK 25505 WEST 12 MILE ROAD SOUTHFIELD, MI 48034 USA
SECRETARY ERIN J. KERBER 25505 WEST 12 MILE ROAD SOUTHFIELD, MI 48034 USA
DIRECTOR KENNETH S. BOOTH 25505 WEST 12 MILE ROAD SOUTHFIELD, MI 48034 USA
DIRECTOR GLENDA J. FLANAGAN 550 BOWIE STREET AUSTIN, TX 78703 USA

DIRECTOR SCOTT J. VASSALLUZZO 2200 BUTT ROAD SUITE 320 BOCA RATON, FL 33431 USA
DIRECTOR GLENDA J. FLANAGAN 550 BOWIE STREET AUSTIN, TX 78703 USA *
DIRECTOR THOMAS N. TRYFOROS - 21 ASTOR PLACE APT 11C NEW YORK, NY 10003 USA
DIRECTOR VINAYAK R HEGDE 7357 172ND AVE SE BELLEVUE, MI 98006 USA

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| Total Authorized Shares: 81,000,000 |

| Written Consent |

| View Assumed Names for this Business Entity |

View filings for this business entity:

ALL FILINGS

ANNUAL REPORT/ANNUAL STATEMENTS
ARTICLES OF INCORPORATION

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RESTATED ARTICLES OF INCORPORATION

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Comments or notes associated with this business entity:

LARA FOIA Process Transparency Office of Regulatory Reinvention State Web Sites

Michigan.gov Home ADA Michigan News Policies

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https://cofs.lara. state.mi.us/CorpWeb/CorpSearch/CorpSummary.aspx?token=nBxILnS8HwVtv4JMRDwTm1 cWblopjmzilgq3FCQzRMH7Z0mRAdeXC1... 2/2

Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 9 of 29

Exhibit 2
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Create Account.

What Consumers Should Know Stock Transfer Agent

Your Credit Approval Reports and Financials ¥

Credit O&A Proxy Materials and Annual Meeting

Consumer Blog. Stock Price Info

Consumer Vide Earnings Calls and Transcripts

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Investor Questions
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Your Credit & Privacy .
Senior Leadership Team
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Dealers + Investor Relations — Inquiries

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What We Do.

What Makes Us Different.
What Dealers Should Know.

Show all *

> Kenneth S. Booth
Chief Executive Officer and President, Age 54

> Douglas W. Busk
Chief Treasury Officer, Age 61

> Erin J. Kerber
Chief Legal Officer, Age 42

> Jonathan L. Lum
Chief Operating Officer, Age 46

> Andrew K. Rostami
Chief Marketing and Product Officer, Age 42

> Wendy A. Rummier
Chief People Officer, Age 45

> Arthur L. Smith
Chief Analytics Officer, Age 49

> Daniel A. Ulatowski
Chief Sales Officer, Age 50

Website User Agreement and Privacy Statement

NASDAQ: CACC

Web Accessibility Policy

NMLS ID: 3023

Privacy for California Residents

Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 11 of 29

Exhibit 3

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Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 _ Page 12 of 29

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Summary for: ROOSEN, VARCHETTI & OLIVIER, PLLC

ee, of the DOMESTIC PROFESSIONAL LIMITED LIABILITY COMPANY: ROOSEN, VARCHETTI & OLIVIER,

Entity type: DOMESTIC PROFESSIONAL LIMITED LIABILITY COMPANY

Identification Number: 801892346 Old ID Number: D11087

| Date of Organization in Michigan: 11/30/2006 |

|Term: Perpetual |

The name and address of the Resident Agent:

Resident Agent Name: PAUL E VARCHETTI

Street Address: 39541 GARLIELD

Apt/Suite/Other:

City: CLINTON TOWNSHIP State: MI Zip Code: 48038

Registered Office Mailing address:

P.O. Box or Street Address:

Apt/Suite/Other:

City: State: Zip Code:

|Act Formed Under: 023-1993 Michigan Limited Liability Company Act |

Managed By:

[View Assumed Names for this Business Entity |

View filings for this business entity:

| ALL FILINGS a
ANNUAL REPORT/ANNUAL STATEMENTS

CERTIFICATE OF CORRECTION

| CERTIFICATE OF CHANGE OF REGISTERED OFFICE AND/OR RESIDENT AGENT

| RESIGNATION OF RESIDENT AGENT ¥

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View filings

Comments or notes associated with this business entity:

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Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 13 of 29

Exhibit 4

Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 14 of 29

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Kari Beeman
13920 Pinewood Dr
Grand Haven, MI 49417

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13920 Pinewood Dr
Grand Haven, MI 49417

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13920 Pinewood Dr
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GPM INVESTMENTS, LLC Pay Date: 04/15/2022
8565 MAGELLAN PARKWAY SUITE 400
Richmond, VA 23227 Voucher #: (2861060)
Deposited To The Account(s) Of Deposit # Account Account # Transit ABA De
Kari Beeman 1 Checking XXXKKKI667  —- 264171241 524.00
Grem LakesGreat Lakes /151/5862 201030 04/15/2022 (2861060)
Kari Beeman
13920 Pinewood Dr
Grand Haven, MI 49417
Non-Negotiable - This Is Not A Check
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GPM INVESTMENTS, LLC

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#201030 - Kari Beeman Voucher #(28 ;
Great Lakes/Great Lakes /131/5862 oT Pay Date: 04/22/2022
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Mon, 04/11/2022 06:29a 04:16p 9:47 |
Tue, 04/12/2022 06:39a 04:27p 9:48
Wed, 04/13/2022 06:22a 03:34p 9:12
Thu, 04/14/2022 06:15a 03:13p 8:58 |
Fri, 04/15/2022 07:02a 03:10p 8:08
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GPM INVESTMENTS, LLC 8565 MAGELLAN PARKWAY “SUITE 400, Richmond, VA 23227 ~ tof!
GPM INVESTMENTS, LLC [ Pay Date: 04/22/2022
8565 MAGELLAN PARK WAY SUITE 400
Richmond, VA 23227 | Voucher #: (2872577)
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Kari Beeman 1 Checking KXXXKK3I067 —-:2641 71241 523.99
Grem Lakes’Great Lakes /131/S862 201030 64/22/2022 (2872577)
Kari Beeman
13920 Pinewood Dr
Grand Haven, MI 49417
Non-Negotiable - This Is Not A Check
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GPM INVESTMENTS, LLC

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Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 21 of 29

#201030 - Kari Beeman Voucher #2883971) : .
Great Lakes/Great Lakes /131/5862 ee
Earnings ———
Rate Hours Current YTD
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Fri, 04/22/2022 06:42a O05:41p 10:59
GPM INVESTMENTS, LLC 8565 MAGELLAN PARKWAY SUITE 400, Richmond, VA 33227 ~ fer!
GPM INVESTMENTS, LLC Pay Date: 04/29/2022
8565 MAGELLAN PARKWAY SUITE 400
Richmond, VA 23227 Voucher #: (2883971)
Deposited To The Account(s) or Deposit # Account Account # Transit ABA Deposit
Kari Beeman 1 Checking MXXMXK3667 —- 264171241 524.00

Great Lakes/Great Lakes 1391/5862 201030 04/29/2022 (2883971)

Kari Beeman
13920 Pinewood Dr
Grand Haven, MI 49417

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GPM INVESTMENTS, LLC
8565 MAGFLI.AN PARKWAY SUTTER 400

Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 22 of 29

#201030 - Beema' ae -
sie ieaibiiieeetaiak 1131/5862 mee et Pay Date: 05/06/2022
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SIT:MI 788.40 14,906.56 29.42 $60.12 |
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Wed, 04/27/2022 05:59a 03:58p 9:59 |
Thu, 04/28/2022 05:55a 06:24p = 12:29 |
Fri, 04/29/2022 08:06n 04:03p 8:00
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GPM INVESTMENTS, LLC 8565 MAGELLAN PARKWAY SUITE 400, Richmond, VA 23227 | of |
GPM INVESTMENTS, LLC Pay Date: 05/06/2022
8565 MAGELLAN PARKWAY SUITE 400
Richmond, VA 23227 Voucher #: (2895383)
Deposited To The Account(s) of sit# Account e Account # Transit ABA Deposit
Kari Beeman 1 Checking XXXXKK3667 264171241 $24.00
Great Lakes/Great Lakes /131/5862 201030 05/06/2022 (2895383)
Kari Beeman
13920 Pinewood Dr
Grand Haven, MI 49417
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GPM INVESTMENTS, LLC

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r #(2906307)
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Total 89.73. 1,790.17
Net Pay $24.00. 11,371.32
Checking (3667) $24.00: 37132 |
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Mon, 05/02/2022 05:52a 03:57p 10:05
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Tue, 05/03/2022 OB:3lp 11:30p 2:59 |
Wed, 05/04/2022 07:50a 04:07p B17 |
Thu, 05/05/2022 06:35a 03:38 9:03 |
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GPM INVESTMENTS. LLC 8565 MAGELLAN PARKWAY SUITE tim vAnET||U!O!~!~#«wd ©.
GPM INVESTMENTS, LLC Pay Date: 05/13/2022
8565 MAGELLAN PARKWAY SUITE 400
Richmond, VA 23227 Voucher #: (2906907)
Deposited To The Account(s) of Deposit # Account e Account # Transit ABA sit
Kari Beeman | Checking XKXXXXX3667 264171241 524.00

Great Laken Greal Lakes /131/5862 201030 9/13/2022 (2906907)

Kari Beeman
13920 Pinewood Dr
Grand Haven, MI 49417

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Pay Period: 05/09/2022-05/15/2022
| Earnings
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FICA 788,40 16,483.36 48.88 1,021.97
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SIT:Ml 788,40 16,483.36 29.42 618.96
Total (RTS 1,879.90
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GPM INVESTMENTS, LLC Pay Date: 05/20/2022
8565 MAGELLAN PARKWAY SUITE 400
Richmond, VA 23227 Voucher #: (2918429)
Deposited To The Account(s) of Deposit # Account Account # Transit ABA Deposit
Kari Beeman t Checking XXXXXXK3667 264171241 $24.00

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Kari Beeman
13920 Pinewood Dr
Grand Haven, MI 49417

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GPM INVESTMENTS, LLC
8565 MAGFII AN PARKWAY SUTTF 490

Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 25 of 29

#201030 - Kari Beeman Voucher #(2929851) 5/271
Earnings
Rate Hours Current YTD
BONMS ee 400.00
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OT 187.68 |
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| Taxes Withheld ) |
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FICA 788.40 17,271.76 48,88 1,070.85
MEDI 788.40 17.271.76 11.43 250.40
SIT:M1 788.40 17,271.76 29.42 648.38
Total 9° legge 1,969.63
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Checking (3667) 524.00 12,419.32
| ‘Timesheet |
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Mon, 03/16/2022 06:17a 03:00p 8:43
Tue, 05/17/2022 06:04a 05:25p 1:2
Wed, 05/18/2022 06:12a 03:35p 9:23
Thu, 05/19/2022 1247p 02:04 8:00
Sat, 05/21/2022 06:09 03:04p 8:55

- - GPM INVESTMENTS, LLC 8565 MAGELLAN PARKWAY SUITE 400, Richmond, VA 23227 Toll
GPM INVESTMENTS, LLC Pay Date: 05/27/2022
8565 MAGELLAN PARKWAY SUITE 400
Richmond, VA 23227 Voucher #: (2929851)
Deposited To The Account(s) ofr Deposit # Account Account # Transit ABA Deposit

Kari Beeman 1 Checking XXKXXNX3667 264171241 524.00
Groat Lakes/Great Lakes /131/$862 201030 05/27/2022 (2929851)
Kari Beeman
13920 Pinewood Dr
Grand Haven, MI 49417
Non-Negotiable - This Is Not A Check
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GPM INVESTMENTS, LLC

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REG 19,71 40:00 788,40 17,344.80
Deductions | |
Goal Current YTD
GARNI 11,511.89 174.67 3,057.48
Taxes Withheld |
Taxable Taxable YTD Current YTD
FIT 788.40 18,060.16
FICA 788.40 18,060,16 48.88 1,119.73
MEDI 788,40 18,060,16 11.43 26) .83
SIT:MI 788,40 18,060.16 29.42 677,80
Total 89,73 2,059.36
Net Pay $24.00 12,943.32
Checking (3667) $24.00 12,943.32
[Timesheet _|
Time Off In Out Total
Mon, 05/23/2022 05:10a 02:49p 9:39
Tue, 05/24/2022 04:55a 02:29p 9:34
Wed, 05/25/2022 05:50a 03:10p 9:20 |
Thu, 05/26/2022 06:020 02:10p 8:08
Fri, 05/27/2022 06:41a 12:00p 8:00 |

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GPM INVESTMENTS, LLC 8565 MAGELLAN PARKWAY SUITE 400, Richmond, VA 23227
GPM INVESTMENTS, LLC Pay Date: 06/03/2022
8565 MAGELLAN PARKWAY SUITE 400
Richmond, VA 23227 Voucher #: (2941383)
Deposited To The Account(s) of Deposit # Account Account # Transit ABA Deposit
Kari Beeman 1 Checking KXXXXX3667 264171241 524.00

Grem Lalces’Great Lakes /131/5862 201030 06/03/2022 (2941383)

Kari Beeman
13920 Pinewood Dr
Grand Haven, MI 49417
Non-Negotiable - This Is Not A Check
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GPM INVESTMENTS, LLC

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Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 27 of 29

Exhibit 5
Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 28 of 29

West Michigan Law Center
501 Baldwin St. Ste 201

Jenison, Michigan 49428

Phone: 616-777-0852

Fax: 616-457-9400

Maureen B. Van Hoven maureenvh@comcast.net
Attorney at Law

July 11, 2022
Credit Acceptance Corporation
PO Box 5070
Southfield, MI 48086
Re: Credit Acceptance Corporation v Bowen
Bankruptcy Case No: 22-01202

Dear Credit Acceptance Corporation:

On June 9, 2022, Kari Beeman (FKA Kari Bowen) filed for bankruptcy
protection. Your client is listed on the matrix.

You garnished Ms. Beeman’s wages in the amount of $2,292.73 within 90 of
when she filed for Bankruptcy Protection. We scheduled the garnished amount and
exempted it. You also garnished her Michigan State Tax Refund in the amount of $622. We
look forward to receiving a check for $2,914.73 in the next two weeks.

If you have any questions or concerns, please feel free to contact me.

Sincerely,

Maureen Van Hoven
Case:22-80071-jwo Doc #:1 Filed: 10/17/2022 Page 29 of 29

West Michigan Law Center
501 Baldwin St. Ste 201

Jenison, Michigan 49428

Phone: 616-777-0852

Fax: 616-457-9400

Maureen B. Van Hoven maureenvh@comcast.net
Attorney at Law

August 8, 2022

Credit Acceptance Corporation
PO Box 5070
Southfield, MI 48086

Re: Credit Acceptance Corporation v Bowen
Bankruptcy Case No: 22-01202

Dear Credit Acceptance Corporation:

I wrote to you on July 11, 2022 but have not yet received a check. On June 9,
2022, Kari Beeman (FKA Kari Bowen) filed for bankruptcy protection. Your client is listed

on the matrix.

You garnished Ms. Beeman’s wages in the amount of $2,292.73 within 90 of
when she filed for Bankruptcy Protection. We scheduled the garnished amount and
exempted it. You also garnished her Michigan State Tax Refund in the amount of $622. We
look forward to receiving a check for $2,914.73 by return mail. Otherwise, I will file an
Adversary.

If you have any questions or concerns, please feel free to contact me.

Sincerely,

Maureen Van Hoven
